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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                Case No: 2:15-cv-01645-JRG-RSP
                                    §
vs.                                 §                LEAD CASE
                                    §
TING, INC.                          §
                                    §
      Defendant.                    §
____________________________________§


       UNOPPOSED MOTION TO DISMISS TING, INC. WITHOUT PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Rothschild
Connected Devices Innovations, LLC (“Rothschild”) files this Unopposed Motion to Dismiss
Defendant Ting, Inc. Without Prejudice. In support of its Motion, Plaintiff states that neither
party has filed an answer or a motion for summary judgment.
       Wherefore, Rothschild moves this Court to dismiss this action and all claims by
Rothschild against Ting, Inc., without prejudice, with each party to bear its own costs, attorney’s
fees and other litigation expenses and request that the Court enter the proposed order of dismissal
submitted herewith.
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Dated: January 11, 2016                        Respectfully submitted,
                                               /s/ Jay Johnson
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                                               ATTORNEYS FOR PLAINTIFF


                                CERTIFICATE OF CONFERENCE

The undersigned certifies that on January 11, 2016, counsel for Plaintiff met and conferred with counsel
for Defendant and that counsel for Defendant agreed to the motion.

                                               /s/ Jay Johnson
                                               Jay Johnson

                                   CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
January 11, 2016.

                                               /s/ Jay Johnson
                                               Jay Johnson
